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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRADLEY BURGESS, : Civil No. 3:19-cv-1731
Petitioner (Judge Mariani)
v.
BERNADETTE MASON,
Respondent
ORDER
AND NOW, this bay of September, 2020, upon consideration of the petition

for writ of habeas corpus, filed pursuant to 28 U.S.C. § 2254, and for the reasons set forth in
the Court's Memorandum of the same date, IT IS HEREBY ORDERED THAT:
1. The petition for writ of habeas corpus (Doc. 1) is DENIED.

2. There is no basis for the issuance of a certificate of appealability. See 28
U.S.C. § 2253(c)(2).

3. The Clerk of Court is directed to CLOSE this case. =

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Robert DMariant
United States District Judge

 
